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EXHIBIT D
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RHODE ISLAND DEPARTMENT OF CORRECTIONS

 

 

 

POLICY AND PROCEDURE
POLICY NUMBER: | EFFECTIVE DATE:
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SUPERCEDES: DIRECTOR: Please use BLUE ink,
16.05-2 DOC :

  

 

 

SECTION: SUBJECT:
HEALTH CARE SERVICES MENU PLANNING

 

 

AUTHORITY: Rhode Island General Laws (RIGL) § 42-56-10 (22), Powers of the
Director

 

REFERENCES: NCCHC standards JF02, Diet; ACA Standards 4-4316, Dietary
Allowances; 4-4317, Menu Planning; and 4-4318, Therapeutic Diets; National
Research Council’s Recommended Dietary Allowances and the Dietary
Guidelines for Americans (U.S. Dept. of Agriculture, U.S. Dept. of Health and
Human Services); National Academy of Science Food and Nutrition Board’s
Recommended Dietary Allowances; Religious Land Use and Institutionalized
Persons Act (RLUIPA), 42 U.S.C. §2000.

 

INMATE / PUBLIC ACCESS? X YES

 

 

AVAILABLE IN SPANISH? X NO

 

I. PURPOSE:

To ensure Rhode Island Department of Corrections (RIDOC) facility menus are planned
in advance, and that all aspects of food nutrition, presentation, service and seasonal
adjustments, as well as a rotating cycle, are considered in the menu planning process.

To ensure diets that are supplied to all inmates incarcerated at the RIDOC are adequate
and incorporate the principles expressed in the United States Department of
Agriculture/Department of Health and Human Services’ food guidelines. Facilities’
diets shall meet the current recommended dietary allowances for specific age groups.

To outline the procedures for requesting and providing modified diets based on
medical needs or religious beliefs.

 
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I. POLICY:

RIDOC provides all incarcerated inmates in its custody with appropriate diets.

A. — If needed, modified diets based on medical/dental needs (“medical modified
diet"), or religious beliefs (“religious modified diet”) are prepared from specially
developed menus and/or in accordance with approved diet manuals.

1. Medical modified diets are served to inmates according to orders of the
treating physician, physician’s assistant , registered nurse practitioner
(RNP) or dentist, and/or as directed by the Medical Program Director or
his/her designee.

2 Inmates may be provided with a religious modified diet as required by
their religious beliefs, and that provides adequate nutrition. Inmates may
request a religious modified diet via an Inmate Request Form. Approval
for such diets are granted by the facility Warden/ designee.

3. Every effort will be made to combine modified religious diets and medical
diets where the medical diet is ordered by medical staff.

B. Modified diets are kept as simple as possible and conform as closely as possible
to the food served to inmates not requiring modified diets.

Cc. It is the responsibility of the Associate Director of Food Services to ensure menus:
‘L: are planned in advance;
2. are reviewed and approved in advance by a licensed Dietitian every quarter;

3. are reviewed with the Administrator of Physical Resources or designee,
relative to anticipated changes and associated timeframes;

4. meet the National Academy of Science Food and Nutrition Board's
Recommended Dietary Allowances (as determined by a licensed
Dietitian);

5. utilize tested recipes; and

6, meet approved medical or religious modified diet requirements as

necessary.
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Written documentation of menu reviews includes the date, signature and title of
the licensed Dietitian.

D. The Associate Director of Food Services and Wardens of all facilities will ensure
that:

i three (3) meals per day (24-hour period) are served in a group setting, unless
security and/or safety override;

2. under no circumstance is food used as a disciplinary measure; and

3. meals meet medical or religious modified diet requirements, as prescribed
for the particular day in question.

IN. PROCEDURES:

A. Menu Planning

1. Menu planning requires input from the Associate Director of Food
Services, Dietitian, Supervisor of Food Services and Correctional Officer
Stewards.

2: Aspects of the menu to be considered include:

a. nutritional value;

b. quality;

G cost;

d, required equipment;

é. preparation time and methods;

NOTE: During the planning and preparation of all meals food
flavor, texture, temperature, appearance and palatability should all
be considered and in compliance with RI Department of Health rules
and regulations.

E current inventory as it relates to scheduled changes in the menu.
 

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(1) The Administrator of Physical Resources or designee notifies
the Associate Director of Food Services or designee at least
twice a year of excess inventory items not being served on
current or upcoming proposed menu cycles.

(2) Incorporate excess inventory into menu in accordance with
the Dietitian’s recommendations and with the approval of
the Associate Director of Food Services. At no time will
“leftovers” be considered excess inventory.

3. Tested recipes should be utilized and adjusted for a yield appropriate for
the facility’s size.

4. Emergency substitutions in meals actually served are reported to the Food
Services Supervisor immediately. Long-term substitutions are made in
consultation with, and approved by, the Dietitian, and equal nutritional
value is maintained.

a. Any menu deviation must be approved by the Associate Director of
Food Services or the Supervisor of Food Services prior to the
meal(s) being prepared.

b. If the Associate Director of Food Services and the Supervisor of

Food Services are unavailable and an emergency exists (e.g., power
outage) where the menu item must be changed, the Correctional
Officer Steward notifies the aforementioned parties and submits
documentation of the incident to the aforementioned parties as
soon after the meal as feasible.

In addition, the Correctional Officer Steward notifies the Shift
Commander of the change prior to the meal.

B. Menu Cycle and Rotation

1. There is a twice-a-year menu cycle (spring/summer and fall/winter), which
is adjusted to reflect seasonal food offerings.

2 The menu is rotated every five (5) weeks, and reviewed quarterly by the
Dietitian to determine whether adjustments are necessary.
 

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Cc. Meal Service

L The ACI facilities utilize four (4) types of serving/dining procedures:
cafeteria style, window service, a tray delivery system and bag lunches for
inmates assigned to work crews and Correctional Industries jobs. The
delivery system is selected dependent upon the level of security necessary
within a particular facility.

2, At least three (3) meals per 24-hour period are served, with no more than 14
hours between the evening meal and breakfast.

3; Two (2) hot meals are served during each 24-hour period; however,
adjustments based on seasonal or other factors may be appropriate, as
determined by the Associate Director of Food Services.

4, All inmates, except those on modified diets, eat the same meals.

5. If an inmate deliberately damages or destroys a food tray, his/her meal is
served in a bag. The Warden/designee may consult with the Associate
Director of Food Services who can recommend alternative methods of meal
service.

D. Diet Orders

L. Physicians, physicians’ assistants, registered nurse practitioners (RNPs) or
dentists write modified diet orders and enter the orders into the inmate’s
Electronic Medical Record (EMR).

a. Medical diets (e.g., renal diets, diagnostic test orders) are provided
on an individual basis. (Healthcare Services does not share
diagnoses or lab results with custody staff. As long as there is a
valid order, documentation is maintained in the EMR supporting
the order.)

NOTE: Changes to medical diets can only be made by physicians,
physicians’ assistants, RNPs or dentists.

b. Texture-Altered diets must be ordered by a physician, physician's
assistant, RNP or dentist. The order shall indicate either “liquid”,
“full” or “puree” for liquid and which textures should be allowed,
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ie, “soft”, “ground” or exempted, ie, “no raw fruit and
vegetables”.

Cc All orders shall include the length of time the diet is needed.

Ze Kitchens serve diets as noted on the EMR generated list for each inmate on
a modified diet. The EMR list reflects the most current modified diet
order on record and that order is prepared for the inmate. No other diet is
served until Kitchen Stewards receive new orders (written by physicians,
physicians’ assistants, RNPs or dentists) via the EMR list.

3: Inmates’ requests to the kitchen for modified diets without written
physicians’, physicians’ assistants’ ’, RNPs’ or dentists’ orders (the EMR
list) are not considered valid diet requests and are not honored.

4. The Dietitian reviews diet orders every six (6) months and brings any
matter needing attention to the physician, physician's assistant , RNP or
dentist who wrote the order.

5. The Dietitian provides diet definitions for all modified diets, and data on
the number of modified diets needed by all kitchens and Correctional
Industries to kitchen staff.

6. The Dietitian updates appropriate EMR generated lists in the kitchen to
include all new modified diet and diagnostic test diet orders. These
updates include inmates’ names, current diet orders and dates/ duration
of orders.

7 RIDOC’s Associate Director of Food Services maintains copies of all
regular and modified diet menus and recipes.

E. Food Allergies

1, True food allergies are rare.

2: RIDOC attempts to minimize allergic reactions; however, nuts and peanut
butter are available to inmates through the commissary. Additionally,
peanut butter may be on the menu.

3. In cases where food allergies are not life-threatening [i.e., are considered
food intolerances (e.g., lactose intolerance) or “preferences”, inmates are
instructed to eat around the food intolerances or disliked item(s).
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a. Sauces are kept separate to facilitate eating around food

intolerances or disliked menu items (e.g., tomato sauce, cheese
sauce, syrup); however, it is not always feasible to keep the sauce
separate (as in American chop suey).

b. If an inmate believes these items appear so often on the menu
[more than five (5) times per week] that it is not feasible to eat
around them, s/he should submit a request slip or be seen at sick
call for evaluation.

4. The Medical Program Director must pre-authorize any allergy testing.
After the inmate has been tested for food allergies, the physician,
physician’s assistant or RNP sends his/her final recommendation to the
Medical Program Director.

a. If the physician, physician’s assistant or RNP recommends a
modified diet, and the Medical Program Director agrees with
his/her recommendation, the Medical Program Director authorizes
that the inmate is to be given an appropriate diet as determined by
the Dietitian.

b. The physician, physician’s assistant or RNP enters this order into
the EMR.

5. Rarely, for foods appearing often on the menu, the physician, physician's
assistant or RNP may order an “allergy diet” [i.e., substitution for item(s)
to which an inmate is allergic]. The physician, physician's assistant or
RNP documents any special needs related to allergies in the inmate's
EMR.

EF, Evening Snacks

1, Inmates may receive evening snacks only if a physician, physician's
assistant or RNP orders them. (Example: insulin dependent inmates have
standing orders for evening milk and cereal), Health Care Services staff
completes a Special Need template for the order in the inmate’s EMR.

2: A notification from the EMR is sent to the Warden for acknowledgement
and to the Dietitian who maintains a list of those inmates for whom
evening snacks have been ordered.
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G. Religious Modified Diets

1. The request for a religious modified diet is made by the inmate to the
facility Warden/ designee. (See Inmate Request Form).
2. If the request is approved, the Warden/ designee shall place the inmate’s

name on the facility list for an approved religious modified diet.

2. An inmate who requests an accommodation in the form of a religious
modified diet shall not be entitled to dictate the form in which the diet is
provided if the diet requirements of the religious beliefs, including the
diet requirements for religious holidays, and the nutritional standards of
the inmate are met by the diet.

4. The Department or facility may choose whether to establish cooking and
dining areas and equipment that enable the proper preparation and
consumption of the religious modified diet at the facility, or to utilize food
prepared outside of the facility in order to accommodate the request for
the modified diet based on religious beliefs.

5. Inmates approved for a religious modified diet shall be provided the meal
a minimum of three times weekly, contingent upon the cost of providing
the modified diet. Financial reasonableness is at the sole and exclusive
discretion of the Department.

6. Inmates who have been approved for religious modified diets, and who
consume or possess food that is not consistent with the diet requested, or
who are found giving away or trading food from the modified diet shall
be subject to actions/sanctions to be determined by the facility
Warden/ designee.

H. Notification of Approval of Religious Modified Diets and Removal from _the
Modified Diet List

L Inmates shall be notified by the Warden/ designee of his/her approval of
a religious modified diet and be required to sign the Modified Diet Based
on Religious Beliefs Notification Form.

Bs An inmate whose request for a religious modified diet has been approved
shall not have the option of eating from the regular menu during the
period the individual is placed on the modified diet list, unless and until
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that inmate submits a request to the Warden/ designee regarding a desire
to terminate the religious modified diet.

a. Such inmates may be denied continued access to the religious modified
diet, or be subject to other action/sanction, if s/he consistently consumes
meals from the facility meal line, is found to have purchased or received
unapproved food items, or has committed other acts that are inconsistent
with an approved modified diet based on religious beliefs.

4. An inmate who has been removed from the modified diet list may only re-
apply in writing to the Warden/ designee, after sixty (60) days. Repeated
violations, which consist of two (2) removals from the modified diet list in

a twelve-month (12) period, will result in an inability to receive a religious
modified diet.

3 An inmate who requests to be removed from a religious modified diet will
be banned from requesting reinstatement to a religious modified diet for a
period of ninety (90) days.

L luvenile Offenders

The Dietician shall ensure the appropriate nutritional needs of juvenile offenders
are met while housed at an Adult Correctional Institutions’ (ACI) facility.
